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 Attorney or Party Name, Address, Telephone & FAX                           FOR COURT USE ONLY
 Nos., State Bar No. & Email Address

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                                                                                                          Central District of California
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                                                                                               CHANGES MADE BY COURT
     Debtor appearing without attorney
     Attorney for: Debtor
     Chapter 13 trustee

                                          UNITED STATES BANKRUPTCY COURT
                                  CENTRAL DISTRICT OF CALIFORNIA - SANTA ANA DIVISION
 In re:
                                                                            CASE NO.: 8:23-bk-10097-MH
                                                                            CHAPTER: 13

                                                                            ORDER ON:
 JOHN FRANKLIN KOHL, III                                                        DEBTOR’S MOTION TO MODIFY PLAN OR
 FE PENAVERDE KOHL                                                              SUSPEND PLAN PAYMENTS
                                                                                DEBTOR’S MOTION FOR AUTHORITY TO
                                                                                REFINANCE REAL PROPERTY
                                                                                DEBTOR’S MOTION FOR AUTHORITY TO
                                                                                SELL REAL PROPERTY
                                                                                DEBTOR’S MOTION FOR AUTHORITY TO
                                                                                ENTER INTO LOAN MODIFICATION
                                                                                OTHER:


                                                                                 No hearing held
                                                                                 Hearing held
                                                                            DATE:
                                                                            TIME:
                                                                            COURTROOM:
                                                                            PLACE:


                                                             Debtor(s).

Based on Debtor’s motion filed on (date) 8/29/2023 as docket entry number 67 and the recommendation of the chapter 13
trustee, it is ordered that Debtor’s motion is:

      Granted                     Denied


           This form is mandatory. It has been approved for use by the United States Bankruptcy Court for the Central District of California.

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      Granted on the terms set forth in the chapter 13 trustee’s comments on or objection to Debtor’s motion

      Granted on the following conditions:

1.              From escrow opened with A&A Escrow Services, Inc. ("A&A Escrow") is authorized to pay only the
liens of Metropolitan Life Insurance Company/NewRez, California Bank & Trust, and Logix FCU, and usual and
customary escrow fees and charges.

2.      Pursuant to Debtors' pending but unconfirmed plan, arrears to the secured creditors were to be paid by the Trustee.
By agreement between the Debtor and the Trustee, and to simplify the recording of documents, A&A Escrow shall
disburse the balance of the secured proofs of claim of Metropolitan Life Insurance Company/NewRez, in the amount of
$97,514.32 on behalf of the Trustee and the Trustee is authorized to take his fee of up to $10,834.93 for this disbursement.
Upon review of the final closing statement, Trustee is also authorized to take his statutory fee on any payments made by
escrow for any impaired claims that should have been provided for thru the plan.

3.      By agreement between the Debtor and the Trustee, and to simplify the recording of documents, A&A Escrow shall
disburse the balance of the secured proofs of claim of California Bank & Trust, in the amount of $4,253.28 on behalf of
the Trustee and the Trustee is authorized to take his fee of up to $472.59 for this disbursement. Upon review of the final
closing statement, Trustee is also authorized to take his statutory fee on any payments made by escrow for any impaired
claims that should have been provided for thru the plan.

4.     The Chapter 13 Trustee will make demand for an estimated $367,079.00 of the net proceeds to be disbursed
toDebtors' creditors pursuant to Debtors' confirmed plan and to pay up to 100% of the general unsecured creditors.

5.      The Court retains jurisdiction as to all funds and property of the estate from this sale until further orders of this
Court and all funds and property of the estate do not revest in the Debtor pursuant to 11 U.S.C. § 349(b)(3). Upon the
Trustee's final audit of Debtors’ case, all remaining funds, if any, will be refunded to the Debtors.

6.      Claims provided for by the proposed plan on Debtors' property are deemed due and owing to creditors pursuant to
11 USC 1326(a)(2). The Chapter 13 Trustee reserves the right to demand additional funds from Debtors as necessary upon
review of the Claims Register on file with the Clerk of the Bankruptcy Court. Failure of Debtors to provide those
additional funds to the Trustee may warrant the filing of a motion for case dismissal.

7.      This order does not prevent Trustee from paying on any claims on the property. Debtors must submit a final
closing statement of the sale to the Trustee or otherwise obtain from creditor a withdrawal of any proof of claim filed on
the property.


        Set for hearing on (date)                         at (time)             .




                Date: September 15, 2023                                ###




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